Case 2:02-CV-02953-SHI\/|-STA Document 116 Filed 04/18/05 Page 1 of 2 Page|D 111

 
  

FREQ_A n nmi .N
IN THE UNITED STATES DISTRICT COURT

FoR THE WESTERN DISTRICT oF TENNESSEE n
wESTERN DIVISION 95 APR \3 AH\U' 9’.

   

 

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THOM.AS sc BETTS CORP., W_D, oF TN, Ml-.MPH|S
Plaintiff,
VS. NO. 02-2953"Ma/An

HOSEA PROJECT MOVERS, LLC,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is the April 13, 2005, motion of defendant
for expedited hearing and or Conference on defendant’e motion to
Stay.

The motion is hereby referred to the magistrate judge for a

determination.

lt is so oRDERED this /Q/Lday of April, 2005.

`/M%/m/L___

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Patrick T. Burnett
GLANKLER BROWN
One Commerce Sq.
Ste. 1700

1\/lemphis7 TN 38103

Oscar C. Carr

GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/lemphis7 TN 38103

M. Clark Spoden

FROST BROWN TODD LLC
424 Church St.

Ste. 1600

Nashville, TN 37219

W. Judd Peak

FROST BROWN TODD LLC
424 Church St.

Ste. 1600

Nashville, TN 37219

Honorable Samuel Mays
US DISTRICT COURT

